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                          IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                   HARRISON DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.                               No. 3:13-CR-30012-001 and -002

CHARLES EDWARD ELLIOTT; and
NICHOLAS KRUG                                                                         DEFENDANTS

                                       AMENDED ORDER

         The Court previously entered text-only orders granting the Government’s motion (Doc. 37)

to continue the trial previously set in this matter for January 6, 2014. This Amended Order is entered

to reflect that the Court finds that the basis for the continuance is the unavailability of an essential

Government witness.

         The Government represents that the primary alleged victim in this case, Ruthann Currence,

was unavailable for trial on January 6, 2014 as she was scheduled to have a double mastectomy and

had been advised not to travel until she recovered from the procedure. Ms. Currence resides in

California, and the Court finds that her inability to travel due to her surgery makes her unavailable

for purposes of the Speedy Trial Act. 18 U.S.C. § 3161(h)(3)(A). As Ms. Currence is the primary

alleged victim in this matter, the Court also finds that she is an essential witness for purposes of the

Speedy Trial Act. Id. Furthermore, Defendants do not object to the continuance.

         The Court finds that the ends of justice served by allowing a continuance of this matter

outweigh the best interest of the public and the defendant in a speedy trial, because otherwise an

essential Government witness would be unavailable to testify. The time from January 6, 2014 to

April 21, 2014 is excludable for purposes of the Speedy Trial Act pursuant to 18 U.S.C. §

3161(h)(3)(A).
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       IT IS THEREFORE ORDERED that the Government’s motion (Doc. 37) for continuance

is GRANTED. This case has been reset for jury trial the week of April 21, 2014.

       IT IS SO ORDERED this 13th day of January, 2014.


                                                          /s/P. K. Holmes, III
                                                          P.K. HOLMES, III
                                                          CHIEF U.S. DISTRICT JUDGE
